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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 341

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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